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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

ANTHONY HARPER,

              Plaintiff,

v.                                                Case No.: 6:17-cv-00796-GAP-KRS

TRANSWORLD SYSTEMS, INC.,

              Defendant.
                                        /

                           NOTICE OF PENDING SETTLEMENT

       Defendant, Transworld Systems Inc., by and through its undersigned counsel,

hereby submits this Notice of Pending Settlement and states that the parties have reached

a verbal settlement with regard to this case and are presently drafting, finalizing, and

executing the settlement and dismissal documents. Upon execution of the same, the

parties will file the appropriate dismissal documents with the Court.

Dated: November 2, 2017

                                            Respectfully submitted,

                                            /s/ Jocelyn C. Smith
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                                          Attorneys for Defendant,
                                          Transworld Systems Inc.



                              CERTIFICATE OF SERVICE

       I certify that on this 2nd day of November 2017, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system, including plaintiff’s counsel as

described below. Parties may access this filing through the Court’s system.

                                  Amanda J. Allen, Esq.
                              William Peerce Howard, Esq.
                              The Consumer Protection Firm
                              210-A South MacDill Avenue
                                    Tampa, FL 33609


                                          /s/ Jocelyn C. Smith
                                          Attorney




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